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NOT FOR PUBLICATION

                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW JERSEY
                                 CAMDEN VICINAGE

                                                   :
 IN RE: STEPHEN MEILE                              :
                                                   :
                                                   :         Misc. 21-007 (RBK)
                                                   :
                                                   :         ORDER
                                                   :
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KUGLER, United States District Judge:

       THIS MATTER comes before the Court upon its June 16, 2021 Order to Show Cause

(Doc. 1). For the reasons expressed on the record at the hearing on June 29, 2021,

       IT IS HEREBY ORDERED that Stephen Meile is found in contempt of Court. Sanctions

are imposed in the amount of $11,227.29 to be paid within 60 days, with a Special Assessment in

the amount of $25.

Dated: 6/30/2021                                                     /s/ Robert B. Kugler
                                                                     ROBERT B. KUGLER
                                                                     United States District Judge
